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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )   Chapter 11
                                                     )
 QUORUM HEALTH CORPORATION,                          )   Case No. 20-10766 (BLS)
                                                     )
                Reorganized Debtor.                  )   Jointly Administered
                                                     )
                                                     )
                                                     )
 DANIEL H. GOLDEN, AS LITIGATION                     )
 TRUSTEE OF THE QHC LITIGATION                       )
 TRUST, AND WILMINGTON SAVINGS                       )
 FUND SOCIETY, FSB, SOLELY IN ITS                    )
 CAPACITY AS INDENTURE TRUSTEE                       )
                                                     )
                Plaintiffs,                          )
                                                     )
 v.                                                  )   Adv. Proc. No. 21-51190 (BLS)
                                                     )
 COMMUNITY HEALTH SYSTEMS, INC.;                     )
 CHS/COMMUNITY HEALTH SYSTEMS,                       )
 INC.; REVENUE CYCLE SERVICE CENTER,                 )
 LLC; CHSPSC, LLC; PROFESSIONAL                      )
 ACCOUNT SERVICES, INC.; PHYSICIAN                   )
 PRACTICE SUPPORT, LLC; ELIGIBILITY                  )
 SCREENING SERVICES, LLC; W. LARRY                   )
 CASH; RACHEL SEIFERT; ADAM                          )
 FEINSTEIN; AND CREDIT SUISSE                        )
 SECURITIES (USA) LLC,                               )
                                                     )
                Defendants.                          )
                                                     )

                JOINT REQUEST FOR ORAL ARGUMENT IN CONNECTION WITH
                 QUORUM HEALTH CORPORATION’S MOTION TO INTERVENE

          Pursuant to Del. Bankr. L.R. 7007-3, (i) Movant, Quorum Health Corporation (“Quorum”);

and (ii) Defendants Community Health Systems, Inc., CHS/Community Health Systems, Inc.,

Revenue Cycle Service Center, LLC, CHSPSC, LLC, Professional Account Services, Inc.,

Physician Practice Support, LLC, Eligibility Screening Services, LLC, W. Larry Cash, Rachel


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Seifert, and Adam Feinstein respectfully jointly request oral argument on Quorum’s Motion to

Intervene [Docket Nos. 54] (the “Motion to Intervene”) filed on February 7, 2022. The Motion to

Intervene is fully briefed and ready for the Court’s consideration.

Dated: May 16, 2022
Wilmington, Delaware                                   Respectfully submitted,

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 Services, Inc., Physician Practice Support,         LLC, CHSPSC, LLC, Professional Account
 LLC, Eligibility Screening Services, LLC, W.        Services, Inc., Physician Practice Support,
 Larry Cash, Rachel Seifert, and Adam                LLC, Eligibility Screening Services, LLC, W.
 Feinstein                                           Larry Cash, and Rachel Seifert


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